       Case 2:13-cr-00048-JLQ   ECF No. 46    filed 04/01/13   PageID.95 Page 1 of 1




 1


 2                          UNITED STATES DISTRICT COURT
 3                        EASTERN DISTRICT OF WASHINGTON
 4
     UNITED STATES OF AMERICA,           )
 5                                       ) No. CR-13-0048-3-JLQ
                                         )
 6                       Plaintiff,      )
                                         )
 7             vs.                       ) ORDER OF DISMISSAL
                                         ) WITHOUT PREJUDICE
 8                                       )
 9   RACHEL KAY GASHO,                   )
                                         )
10                       Defendant.      )
     ___________________________________ )
11
12        IT IS HEREBY ORDERED:

13        The Government's Motion to Expedite (ECF No. 36) and Motion for Order of

14 Dismissal Without Prejudice (ECF No. 35) pursuant to Fed.R.Crim.P. 48(a) are
15 GRANTED. Leave of court is granted for the foregoing dismissal of the Indictment
16 against Rachel Kay Gasho (ECF No. 19). The court makes no judgment as to the merit
17 or wisdom of this dismissal.
18        The District Court Executive is directed to enter this Order, enter a Judgment of

19 Dismissal of the Indictment as to the claims therein asserted against Rachel Kay Gasho
20 without prejudice, and provide copies to counsel.
21        DATED this 1st day of April, 2013.

22                              s/ Justin L. Quackenbush
                              JUSTIN L. QUACKENBUSH
23                      SENIOR UNITED STATES DISTRICT JUDGE

24
25
26
27
28

     ORDER - 1
